
655 S.E.2d 839 (2007)
Eric A. LITVAK and Castle Ventures, LLC
v.
Katie C. SMITH.
No. 622P06.
Supreme Court of North Carolina.
December 6, 2007.
Gary Rickner, New Bern, for Eric A. Litvak &amp; Castle Ventures.
Robert Burris, Thomas J. Hefferon, Charlotte, for Katie Smith.
Prior report: 180 N.C.App. 202, 636 S.E.2d 327.

ORDER
Upon consideration of the petition filed on the 12th day of December 2006 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of December 2007."
